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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

CRYSTALLEX INTERNATIONAL                              :
CORPORATION,                                          :
                                                      :
                Plaintiff,                            :    Case No. 1:17-mc-00151-LPS
                                                      :
       v.                                             :
                                                      :
BOLIVARIAN REPUBLIC OF                                :
VENEZUELA,                                            :
                                                      :
                Defendant.                            :


                     STATEMENT PURSUANT TO LOCAL RULE 7.1.1

       Counsel for the Bolivarian Republic of Venezuela, Petróleos de Venezuela, S.A., PDV

Holding, Inc., and CITGO Petroleum Corporation (collectively, “Appellants”) hereby certify

pursuant to Local Rule 7.1.1 that they attempted to meet and confer with Plaintiff Crystallex

International Corporation (“Plaintiff”) on February 15, 2021 regarding Appellants’ Motion to

Stay Pending Appeal that was filed on February 12, 2021 (the “Motion,” D.I. 242). Counsel for

Plaintiff declined the invitation to meet and confer and stated that Plaintiff will oppose the

Motion.



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